Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16   PageID.1   Page 1 of 15
Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16   PageID.2   Page 2 of 15
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16   PageID.3   Page 3 of 15



 1                     UNITED STATES DISTRICT COUT
 2
                  FOR THE EASTERN DISTRICT OF MICHIGAN

 3
 4   KIM WILLARD
 5         Plaintiff                          Hon.
 6                                            Case No.
     v.
 7
 8   JACKSON COUNTY, a municipal corporation,
     RYAN STEVENSON, Individual and official capacity,
 9
     GARY MCKESSY, Individual and official capacity,
10   STEVEN P. RAND, Individual and official capacity,
11
     ROBERG VOGT, Individual and official capacity,
     MIKE COBURN, Individual and official capacity,
12   DEPUTY FRENCH, Individual and official capacity,
13   DEPUTY HUTTENLOCKER, Individual and official capacity,
     DEPUTY C. ALLEN, Individual and official capacity,
14   DEPUTY KAKOWSKI, Individual and official capacity,
15   JOHN/JANE DOES #1-10, Individual and official capacities,
16         Defendants
17
     ________________________________________________________________/
18
19   BOYLANLAW, P.C.
20
     Karie H. Boylan (P55468)
     Attorney for Plaintiff
21   410 W. University, Suite 201
22   Rochester, Michigan 48307
     Phone:       855-9BOYLAN
23   Fax:         855-3BOYLAN
24   E-Mail:      karie@boylanlaw.net
     ________________________________________________________________/
25
26               PLAINTIFF’S COMPLAINT AND JURY DEMAND
27
28

                                          1
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16           PageID.4    Page 4 of 15



 1         In support of his Complaint, Defendant states:
 2
                                JURISDICTION & VENUE
 3
 4         1.     Jurisdiction is based upon 28 U.S.C. § 1331 and 1343(a)(3).
 5         2.     Venue is proper in this district pursuant to 28 U.S.C. § 1391, as the
 6
     events giving rise to the claim arose in Jackson County, Michigan.
 7
 8                                         PARTIES
 9
           3.     Plaintiff, Kim Willard, is a resident of Lansing, Michigan. He is an
10
11
     individual with a disability within the meaning of both the Americans with

12   Disabilities Act (hereinafter “ADA”) and the Rehabilitation Act of 1973 (hereinafter
13
     “Rehabilitation Act”) because he has physical impairments (epileptic and right lower
14
15   extremity amputee) that substantially limit one or more of his major life activities.
16         4.     Defendant Jackson County is a Michigan municipal corporation.
17
           5.     Defendant Rand is the Jackson County Sheriff. Defendants Vogt and
18
19   Coburn and Jackson County Jail Administrators. These three individuals are the
20
     decision makers for the Jail, including but not limited to training, supervision, policy
21
22   making, jail construction & modifications, ADA and Rehabilitation Act compliance.
23         6.     The remaining Defendants are Jackson County employees assigned to
24
     work in the County Jail sometime between July 19, 2015 through October 26, 2015.
25
26         7.     From July 19, 2015, through October 26, 2015, Plaintiff was an inmate
27
     in the Jackson County Jail.
28

                                                2
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16           PageID.5    Page 5 of 15



 1          8.     When Plaintiff arrived, Deputies removed his prosthesis, refused to
 2
     give it back to him, and refused to provide him with any other form of mobility
 3
 4   device. Plaintiff was forced to hop on one leg everywhere he went inside the Jail.
 5          9.     Not wearing his prosthesis while in the Jackson County Jail caused
 6
     Plaintiff’s stump to change its shape, which compelled him to purchase a new
 7
 8   prosthesis which is expensive and painful to break in.
 9
            10.    Defendants, including John/Jane Does #1 through #10, are Jackson
10
11
     County employees responsible for the decision(s) to: (a) not allow Plaintiff to wear

12   his prosthesis in Jail, (b) not provide Plaintiff with a mobility device, (c) not provide
13
     Plaintiff access to a shower/toilet, (d) insist that he ambulate by hopping on one leg.
14
15          11.    Every time Plaintiff wanted to take a shower, he had to hop on one leg
16   to get in and out. Notably, Plaintiff had to hop over a 1’+ tall, floor mounted water
17
     barrier every time. There were no grab bars, hand rails or any other form of
18
19   handicap assistance device to help him clear the barrier.
20
            12.    Plaintiff objected to having to hop over the barrier. Defendants’ told
21
22   him: “Fine, if you don’t want to hop, then don’t take a shower”.
23          13.    On October 20, 2015, Plaintiff tried to hop into the shower, the barrier
24
     caught his foot, and he fell onto the concrete floor suffering serious injury and
25
26   excruciating pain. This is a photo of Plaintiff after he fell with his only leg still
27
     resting on the barrier:
28

                                                3
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16       PageID.6    Page 6 of 15



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
           14.    Plaintiff was transported to the Allegiance hospital by ambulance and
11
12   admitted for emergency medical treatment.
13
           15.    On October 14, 2015, Deputy McKessy, a Field Training Officer, was
14
15
     “shadowing” Deputy Stevenson. These were transport Deputies, responsible for

16   escorting inmates to and from Jackson County Circuit Court.
17
           16.    Every other time Plaintiff went to and from Court, Deputies pushed
18
19   him in a wheelchair outside of the Jail, down a sidewalk, to the Courthouse next
20   door where he could enter and leave the courthouse via the wheelchair ramp.
21
           17.    On October 14, 2015, Plaintiff was with other inmates waiting for
22
23   Court. Plaintiff asked Deputies whether he could talk to his attorney somewhere in
24
     private so that others could not hear the privileged attorney-client communications.
25
26   Deputies refused, became angry and radioed to Stevenson and McKessy that they
27   had to come get Plaintiff because he was being “a problem”. They were angry.
28

                                              4
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16             PageID.7   Page 7 of 15



 1          18.    On their way back to the Jail, Deputy Stevenson pushed Plaintiff in the
 2
     wheelchair. Rather than use the handicap ramp, he headed towards the tunnel stairs.
 3
 4          19.    Deputy McKessy went ahead of Deputy Stevenson and Plaintiff.
 5          20.    Once Deputy Stevenson reached the tunnel stairs, he stopped and told
 6
     Plaintiff to get out of the wheelchair and hop down the stairs. At that time,
 7
 8   Plaintiff’s hands were still chained to his belly cuffs at that time.
 9
            21.    Plaintiff refused to hop down the stairs.
10
11
            22.    In response to Plaintiff’s refusal, Deputy McKessy turned on his body

12   camera, pointed it at Plaintiff and said: “Inmate HOP down those stairs! That’s an
13
     Order!” Plaintiff hopped onto the first step then fell down the remaining three.
14
15   Plaintiff landed hard on the concrete floor, hitting his head, suffering serious injury
16   and excruciating pain. This is a photograph of Plaintiff after he fell:
17
18
19
20
21
22
23
24
25
26
27
28

                                                  5
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16          PageID.8    Page 8 of 15



 1         23.    Plaintiff was transported to the Allegiance hospital by ambulance and
 2
     admitted for emergency medical treatment.
 3
 4         24.    Plaintiff fell other times while being forced to “hop” around the Jail,
 5   including when he suffered seizures (of which Defendants knew he was prone).
 6
            Count I: Violation of the Americans with Disabilities Act of 1990
 7
 8         25.    Plaintiff incorporates the preceding paragraphs by reference
 9
           26.    Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §
10
11
     12101, et seq., expressly prohibits, among other things, discrimination against a

12   person with a disability, solely on the basis of the disability, in the full and equal
13
     enjoyment of the services programs, and activities of a public entity.
14
15         27.    Defendants operate the Jackson County Jail, which qualifies as a public
16   entity” under the definition set forth in 42 U.S.C. § 12131(1)(B) because it is a
17
     “department, agency, special purpose district, or instrumentality” of a local
18
19   government, i.e., Jackson County, Michigan.
20
           28.    Defendants’ failure to provide a seizure prone lower extremity amputee
21
22   with an adequate mobility device while in Jail, access to showers and bathrooms,
23   wall mounted grab bars, a raised toilet seat and other handicap devices constitute a
24
     violation of Title II of the ADA because those failures denied Plaintiff the use and
25
26   enjoyment of a services of a public entity.
27
28

                                                   6
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16           PageID.9    Page 9 of 15



 1          29.    Defendants’ failure to provide reasonable accommodations for a
 2
     seizure prone lower extremity amputee constitutes a violation of Title II of the ADA
 3
 4   because it denied Plaintiff the use and enjoyment of a service of a public entity.
 5          30.    Defendant Stevenson’s ordering Plaintiff to hop down a flight of stairs
 6
     while belly cuffed constitutes a violation of Title II of the ADA.
 7
 8          31.    Defendants’ ADA violations proximately caused Plaintiff to suffer
 9
     personal injury, pain, suffering, humiliation, embarrassment, emotional distress; and,
10
11
     to incur medical and other expenses, costs, interest and attorney fees.

12                  Count II: Violation of the Rehabilitation Act of 1973
13
            32.    Plaintiff incorporates the preceding paragraphs by reference.
14
15          33.    Section 504 of the Rehabilitation Act of 1983, 29 § U.S.C. 794,
16   provides that no otherwise qualified individual with a disability may be excluded
17
     from the participation in, be denied the benefits of, or be subjected to
18
19   discrimination under any program or activity receiving federal financial assistance,
20
     solely on the basis of the individual’s disability.
21
22          34.    Defendants operate the Jackson County Jail, which qualifies as a
23   “program or activity” under the definition set forth in 29 U.S.C. § 794(b)(1)(A)
24
     because it is a “department, agency, special purpose district, or instrumentality” of a
25
26   local government, i.e., Jackson County, that receives federal financial assistance.
27
28

                                                  7
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16           PageID.10   Page 10 of 15



 1           35.    Defendants’ failure to provide an adequate mobility device while in Jail,
 2
      access to showers and bathrooms, wall mounted grab bars, a raised toilet seat and
 3
 4    other handicap devices constitutes violations of the Rehabilitation Act because those
 5    failures denied Plaintiff the use and enjoyment of the facility.
 6
             36.    Defendants’ failure to provide reasonable accommodations to Plaintiff
 7
 8    constitutes a violation of the Rehabilitation Act because it denied Plaintiff the use
 9
      and enjoyment of a service of a public entity.
10
11
             37.    Defendant Stevenson’s ordering Plaintiff to hop down a flight of stairs

12    while belly cuffed constitutes a violation of the Rehabilitation Act.
13
             38.    Defendants’ violations of the Rehabilitation Act, proximately caused
14
15    Plaintiff to suffer personal injury, pain, suffering, humiliation, embarrassment,
16    emotional distress; incur medical and other expenses, costs, interest, attorney fees.
17
                                  Count III – 42 U.S.C. § 1983
18
19           39.    Plaintiff incorporates the preceding paragraphs by reference.
20
             40.    All Defendants were acting under color of law at all relevant times.
21
22           41.    Deputies French, Huttenlocker, C. Allen and Kakowski were involved
23    in Plaintiff’s October 20, 2015, fall in the shower.
24
             42.    Defendants had actual knowledge of the risk of harm Plaintiff faced
25
26    hopping into and out of the shower on one leg, with no handrails, grab bars or other
27
      handicap assistance devices.
28

                                                 8
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16            PageID.11   Page 11 of 15



 1           43.    Defendants’ insistence that Plaintiff repeatedly expose himself to a risk
 2
      of harm they created and which eventually caused him to fall multiple times,
 3
 4    constitutes cruel and unusual punishment under the 8th and/or 14th Amendment.
 5           44.    Deputies Stevenson, McKessy, Watson and Kakowski were involved in
 6
      Plaintiff’s October 14, 2015, fall down the stairs.
 7
 8           45.    Deputy McKessy’s failure to properly supervise Deputy Stevenson, and
 9
      his ordering Plaintiff to hop on one leg down a flight of stairs while belly cuffed
10
11
      constitutes cruel and unusual punishment under the 8th and/or 14th Amendment.

12           46.    Defendant McKessy was angry with Plaintiff for “being a problem”.
13
      He intended to injure Plaintiff by ordering him to hop down the stairs while belly
14
15    cuffed. After the fact, Defendant McKessy destroyed/erased audio and video tape
16    the memorialized him ordering Plaintiff to hop down the stairs, and of Plaintiff
17
      falling down the stairs, in an effort to avoid being held liable.
18
19           47.    Jail officials responsible for the decisions to (a) remove Plaintiff’s
20
      prosthesis and not replace it with an adequate mobility device (especially knowing he
21
22    was prone to seizures), (b) house Plaintiff in a cell that was not handicap assessable,
23    (c) not provide Plaintiff with access to a shower or toilet, (d) force Plaintiff to hop
24
      over a barrier to get in and out of the shower, (e) force Plaintiff to hop down a flight
25
26    of stairs with hands chained to his waist are not entitled to qualified immunity.
27
28

                                                  9
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16        PageID.12    Page 12 of 15



 1          48.    Defendants Rand, Vogt and Coburn’s failure to implement policies and
 2
      procedures in the Jackson County Jail that would allow for safe mobility for lower
 3
 4    extremity amputees in the Jail, insistence that prosthesis be taken away from
 5    amputees and not returned, failure to remove barriers or install handrails on Jail
 6
      walls, failure to provide amputees with reasonable handicap access to showers and
 7
 8    toilets, forcing amputees to ambulate by hopping around inside the Jail on one leg
 9
      are moving forces behind the violations of the 8th and 14th Amendments to the
10
11
      United States Constitution.

12          49.    Defendants’ violations of the 8th and 14th Amendments proximately
13
      caused Plaintiff to suffer damages.
14
15          50.    Providing Plaintiff with access to the shower that he did not have to
16    hop in and out of, over a 1’+ tall barrier on one leg, on wet concrete, with no
17
      handrails, grab bars or anything else to hold while hopping, is not a discretionary
18
19    function of a Jackson County employee assigned to work in the Jail.
20
            51.    If forcing Plaintiff to hop over a 1’+ barrier, on one leg, on wet
21
22    concrete, with no handrails, grab bars, or anything else to hold while hopping, is a
23    discretionary function, the decision to compel Plaintiff to do so on a daily basis,
24
      violates clearly established statutory or constitutional rights of which a reasonable
25
26    person would have known.
27
28

                                               10
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16           PageID.13    Page 13 of 15



 1          52.    Ordering a right lower extremity amputee to hop on one leg down a
 2
      flight of stairs while his hands are chained to his stomach is not a discretionary
 3
 4    function of a Jackson County employee assigned to work in the Jail.
 5          53.    If forcing a right lower extremity amputee to hop on one leg down a
 6
      flight of stairs while his hands are chained to his stomach is a discretionary function,
 7
 8    the decision to order Plaintiff to do so violated clearly established statutory or
 9
      constitutional rights of which a reasonable person would have known.
10
11
            54.    Defendants’ constitutional deprivations proximately caused Plaintiff to

12    suffer personal injury, pain, suffering, humiliation, embarrassment, emotional
13
      distress; incur medical and other expenses, costs, interest, attorney fees.
14
15                                      Requested Relief
16          Wherefore, Plaintiff requests that this Honorable Court:
17
            1.    Enter declaratory judgment that Defendants violated the ADA
18
            and Rehabilitation Act;
19
20
            2.    Enter an injunction ordering Defendants (a) to cease violating the
            ADA and Rehabilitation Act and (b) to bring its facilities into full
21          compliance with the ADA and the Rehabilitation Act;
22
            3.    Award compensatory and punitive damages in excess of
23          $500,000.00, plus interest;
24
            4.     Award Plaintiff costs, interest and attorney fees;
25
26          5.     Enjoin Defendants from housing Plaintiff unless and until the Jail
            is brought into compliance with the ADA and Rehabilitation Act; and
27
28          6.     Grant such other and further relief as the Court deems just.
                                                 11
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16      PageID.14   Page 14 of 15



 1
 2
                                    Respectfully submitted,

 3                                  /s/ Karie H. Boylan
 4                                  BOYLANLAW, P.C.
                                    Karie H. Boylan (P55468)
 5                                  Attorney for Plaintiff
 6                                  410 W. University, Suite 201
                                    Rochester, Michigan 48307
 7                                  Phone:        855-9BOYLAN
 8                                  Fax:          855-3BOYLAN
      Dated: June 9, 2016           E-Mail:       karie@boylanlaw.net
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           12
     Case 2:16-cv-12120-PDB-APP ECF No. 1 filed 06/09/16           PageID.15   Page 15 of 15



 1                      UNITED STATES DISTRICT COUT
 2
                   FOR THE EASTERN DISTRICT OF MICHIGAN

 3    KIM WILLARD
 4
            Plaintiff                                  Hon.
 5                                                     Case No.
 6    v.
 7    JACKSON COUNTY, a municipal corporation,
 8    RYAN STEVENSON, Individual and official capacity,
      GARY MCKESSY, Individual and official capacity,
 9
      STEVEN P. RAND, Individual and official capacity,
10    ROBERG VOGT, Individual and official capacity,
11
      MIKE COBURN, Individual and official capacity,
      DEPUTY FRENCH, Individual and official capacity,
12    DEPUTY HUTTENLOCKER, Individual and official capacity,
13    DEPUTY C. ALLEN, Individual and official capacity,
      DEPUTY KAKOWSKI, Individual and official capacity,
14    JOHN/JANE DOES #1-10, Individual and official capacities,
15
           Defendants
16    ________________________________________________________________/
17
                               PLAINTIFF’S JURY DEMAND
18
19          Plaintiff requests a trial by jury.
20
                                         Respectfully submitted,
21
22                                       /s/ Karie H. Boylan
                                         BOYLANLAW, P.C.
23                                       Karie H. Boylan (P55468)
24                                       Attorney for Plaintiff
                                         410 W. University, Suite 201
25                                       Rochester, Michigan 48307
26                                       Phone:        855-9BOYLAN
                                         Fax:          855-3BOYLAN
27
      Dated: June 9, 2016                E-Mail:       karie@boylanlaw.net
28

                                                  13
